     Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 1 of 27 Page ID
                                      #:14452



     Kevin Mahoney (SBN: 235367)
 1   kmahoney@mahoney-law.net
 2   Katherine J. Odenbreit (SBN: 184619)
     kodenbreit@mahoney-law.net
 3   Kate Nicole G. Blanco (SBC: 31344)
     Kblanco@mahoney-law.net
 4   MAHONEY LAW GROUP, APC
     249 East Ocean Blvd., Suite 814
 5   Long Beach, CA 90802
 6
     Telephone: (562) 590-5550
     Facsimile: (562) 590-8400
 7
     Lisa L. Clay (Pro Hac Vice)
 8   lisa@clayatlaw.com
     LISA L. CLAY, ATTORNEY AT LAW
 9   2100 Manchester Road, Suite 1612
     Wheaton, IL 60187
10   Telephone: (630) 456-4818
11
     Attorneys for Plaintiffs DONEYDA PEREZ, DANNY NISSEN, MARLYS
12   NISSEN, JOSEPH ANGELO, GREGOGRY LAPLANTE and PAUL HOLT,
13   individually and on behalf of their respective businesses, and on behalf of all others
     similarly situated.
14
                             UNITED STATES DISTRICT COURT
15

16           CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

17   DONEYDA PEREZ as an individual and            Case No. 8:16-CV-01440-JLS-DFM
18   on behalf of all others similarly situated,
                                                   DECLARATION OF MICHAEL BUI
19   Plaintiff,                                    ON BEHALF OF SIMPLURIS, INC.
                                                   (PROPOSED SETTLEMENT
20
                                                   ADMINISTRATOR)
            v.
21                                                 Date: August 19, 2022
     DIRECTV GROUP HOLDINGS, LLC, a                Time: 10:30 a.m.
22   Delaware Corporation, LONSTEIN LAW            Dept.: 8A
23   OFFICES, P.C., a New York Professional
     Corporation; SIGNAL AUDITING, INC.,           Fourth Amended Complaint Filed:
24   a New York Corporation, JULIE COHEN           December 17, 2020
     LONSTEIN and WAYNE M. LONSTEIN,
25

26   Defendants.

27

28                                   -1-
        DECLARATION OF MICHAEL BUI ON BEHALF OF SIMPLURIS, INC. (PROPOSED
                          SETTLEMENT ADMINISTRATOR)
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 2 of 27 Page ID
                                 #:14453



 1                            DECLARATION OF MICHAEL BUI
 2          I, Michael Bui, declare as follows:
 3          1.     I am the Director of Case Management for Simpluris Inc., (“Simpluris”).
 4   I am over 18 years of age and authorized to make this declaration on behalf of Simpluris
 5   and myself, and make this declaration based upon my own personal knowledge.
 6          2.     Simpluris has extensive experience in class action matters, having
 7   provided services in class action settlements involving antitrust, securities fraud,
 8   property damage, employment discrimination, employment wage and hour, product
 9   liability, insurance and consumer issues. Simpluris specializes in pre-settlement
10   consultation, data management, legal notification, call center support, claims
11   processing and tax reporting.
12          3.     We have provided notification and/or claims administration services in
13   more than 5,000 cases. Of these, more than 3,000 were Labor & Employment cases.
14   Over the past 10 years, Simpluris has handled approximately $600 million in
15   settlements. A true and correct copy of Simpluris’ company resume (“Simpluris
16   Resume”) is attached as Exhibit 1.
17          4.     Simpluris is committed to the security of not only our data and
18   information but the Parties’ data and information as well. We have not experienced
19   any security breaches in our company history. A true and correct copy of our SOC 2
20   Certification demonstrating our commitment to security is attached as Exhibit 2.
21   Additionally, Simpluris maintains insurance coverage in the amount of $3,000,000 for
22   Errors and Omissions.
23          5.     Simpluris does not have any affiliation with counsel for this matter.
24          6.     Simpluris has been selected by counsel to serve as the class action
25   Settlement Administrator for this case. In this capacity, Simpluris will be charged with,
26   among other responsibilities: (a) disseminating the class notice approved by the Court;
27   (b) conduct skip trace address searches for returned undeliverable mail; (c) provide
                                     --2--
             DECLARATION OF MICHAEL BUI ON BEHALF OF SIMPLURIS, INC.
                    (PROPOSED SETTLEMENT ADMINISTRATOR)
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 3 of 27 Page ID
                                 #:14454



 1   reports regarding efficacy of email and mail notification efforts (d) establishing a fund
 2   for authorized claimants; (e) calculating all amounts due to each class member pursuant
 3   to the settlement; (f) processing checks and mailing payments to class members; (g)
 4   preparing, processing, and filing all applicable tax forms and tax returns. Simpluris has
 5   estimated the costs to administer the settlement fund in this case at $73,423 and has
 6   agreed to cap the costs at $75,000. If the scope of work increases or decreases
 7   significantly, Simpluris will inform the parties and request approval of an adjustment,
 8   whether increased or decreased respectively, to the capped costs. Attached hereto as
 9   Exhibit 3 is a copy of Simpluris’ bid for administering this matter.
10          I declare under penalty of perjury under the laws of the State of California that
11   the above is true and correct and that this Declaration was executed this 21st day of
12   March, 2022, in Costa Mesa, California.
13

14

15

16
                                                      Michael Bui
17

18

19

20

21

22

23

24

25

26

27
                                     --3--
             DECLARATION OF MICHAEL BUI ON BEHALF OF SIMPLURIS, INC.
                    (PROPOSED SETTLEMENT ADMINISTRATOR)
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 4 of 27 Page ID
                                 #:14455




                              Exhibit 1
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 5 of 27 Page ID
                                 #:14456




ABOUT SIMPLURIS
Simpluris, Inc. opened its doors in January 2007 as a class action settlement
administration firm. A small collection of professionals proficient in class action
settlement administration, marketing, direct mail development, and database design,
with Troy Hoffman at its helm, began building the client-centric company with less than
10 clients. Over the course of 10 years, Simpluris has grown to 55+ employees, offices
in 3 states, 5000+ clients. The success has derived from the construction of a
cohesive team built with enthusiasm and vision. Simpluris is continually advancing its
services including notification campaigns, case administration, data management,
funds distribution and tax reporting persistently seeking modern techn iques that offer
efficiency and cost effective solutions to our clients. Simpluris will launch LiveCase™
(client centric software) shortly, which will take class action settlement administration
to a whole new level.

Inc Magazine recently ranked Simpluris #171 on its 30th annual Inc. 500 an exclusive
ranking of the nation’s fastest growing private companies.

Founder, Troy Hoffman, has been a guest lecturer and panel member in the industry on
class action related topics, including online claims filing, class notice campaigns, and
other relevant issues within class action administration. He has spoken at many
seminars including:

•   California 17200 Conference
•   Class Action & UCL Conference
•   Nixon Peabody Luncheon
•   Class Action Litigation Summit
•   Bridgeport symposium’s, Regular Panel Member
•   CASD-Panel Member

Our approach is to provide a high level of customer service to all our clients and to use
automation to the fullest to provide economical as well as accurate results and work
product.

Clients receive support from our experts, who include attorneys, accountants, IT
experts and communications professionals with a deep understanding of the unique
demands of complex administration for class action, mass tort, and international
collective redress.
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 6 of 27 Page ID
                                           #:14457
 Every case is assigned a dedicated team of professionals that oversees and
 coordinates all aspects of the engagement. Our integrated approach assures the
 highest levels of quality, accuracy and timeliness to meet clients’ deadlines.

Simpluris has successfully administered cases in a complete scope of different
practice areas. Our proven procedures and best practices provide successful outcomes
from start to finish. Our IT professionals work full time to upgrade our case
management technology to advance our commitment to our clients. Our far-reaching
experience has helped us effectively administer cases in Wage and Hour, retail,
commercial, Consumer, liability, and Consumer Fraud.

AREAS OF PRACTICE

 Antitrust                   Employment/ADA              Personal Injury
 Banking                     Environmental               Product Liability
 Civil Rights                Finance                     Securities
 Consumer/Product            Healthcare                  Specialty Areas
 Coupon                      Insurance                   Trade
 Discrimination              Mass Tort                   Wage and Hour


SERVICES AND SOLUTIONS

 Call Center                 Consulting                  Notice of Class Certification
 Case Administration         Data Management             Pre-Certification
 Case Notification           Discovery Campaigns         Settlement Mailings
 Case Websites               Fund Distribution and Tax   Statistical Analysis
 Claims Processing           Reporting                   Statistics Gathering
 Class Member Tracking       Mailing Campaigns
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 7 of 27 Page ID
                                 #:14458




                              Simpluris Security Summary – White Paper
      Simpluris is committed to the security and overall protection of not only our data and information but our client’s data
      and information, as well. As a demonstration of our commitment, we maintain SOC 2 Certification which requires strict
      adherence to policies and procedures surrounding information security, including processing and storage of
      confidential customer data. Simpluris supports a comprehensive, written Information Security Program that complies
      with all applicable laws and regulations (e.g. HIPAA, Gramm-Leach-Bliley Act, MA 201 CMR 17.00) and is designed to
      (a) ensure the security, privacy and confidentiality of Client and Class Member Information, (b) protect against any
      reasonably anticipated threats or hazards to the security or integrity of Client or Class Member Information, and (c)
      protect against unauthorized access to, use, deletion, or modification of Class Member Information. Simpluris has
      designated specific employees to be responsible for the administration of its Information Security Program. Also,
      Simpluris regularly and routinely monitors, tests, and updates our Information Security Program.

      Simpluris uses Client and Class Member Information only for the purposes for which its’ clients provide it, as described
      in any Agreements or Court Orders governing the provision of Simpluris’ services in any particular case. Simpluris
      maintains a process for identifying, assessing, and mitigating the risks to Class Member Information in each relevant
      area of Simpluris’ operations. At Simpluris, we continuously evaluate the effectiveness of the safeguards for controlling
      these risks to data and bank accounts. Simpluris restricts access to Class Member Information only to those
      employees, agents, or subcontractors who need to know the information to perform their jobs. Simpluris performs
      background checks of all its employees that will have access to Sensitive Personal Information, including a review of
      their references, employment eligibility, education, and criminal history to ensure they do not pose a risk to the security
      of Client or Class Member Information.

      Simpluris adheres to the following industry best practices to safeguard its systems which process, store or transmit
      Client and Class Member Information:
      • Identity and Access Management;
      • Complex passwords are routinely and regularly changed;
      • Role-based access control systems to limit individual employee access to network applications and systems
      based on their particular job role and function;
      • Data Loss Prevention and Intrusion Prevention System software at multiple layers to prevent from internal and
      external threats of data leaks, malicious activity, and policy violations
      • Encryption of Class Member Information if transmitted over public or wireless networks (e.g., via email, FTP, the
      Internet, etc.);
      • Implementation of a Secure File Transfer system (using SSL encryption) for transmitting documents back and forth
      to clients;
      • Encryption of servers, portable media, laptops, desktops, smartphones, mobile devices, and new technologies that
      store Class Member Information;
      • Complex password authentication for remote access to Company’s networks;
      • Upon hire and annually after that, training of all employees with access to Class Member Information, (including
      any agents, and subcontractors with access to Class Member Information) about their obligations to implement the
      Information Security Program;
      • Strict disciplinary measures for employees who violate the Information Security Program;
      • Preventing terminated employees from accessing Class Member Information;
      • Appropriately configured and updated firewall, antivirus, and spyware software;
      • Prompt application of vendor-recommended security patches and updates to systems and other applications to
      avoid any adverse impact on Class Member Information;
      • Separation of Duties;
      • Infrastructure and Physical Security;
      • Business Continuity Planning;
      • Disaster Recovery Planning
     Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 8 of 27 Page ID




Simpluris                                                   current
                                      #:14459



                                                                           case list
Class Action Settlement Administration

  Acheson v Giorgio Armani                                  Blackner v Ameripark
  Case Number: 107 CV 099461                                Case No: BC363075
  Plaintiff - Initiative Legal Group LLP                    Plaintiff – Initiative Legal Group
  Mónica Balderrama, Esq., Shawn Westrick, Esq.             Mark Yablonovich
  Defense - Jackson Lewis LLP                               Defense - Littler Mendelson
  Punam Sarad, JoAnna Brooks                                Tony Ray Skogen

  Alberto v GMRI, Olive Garden                              Bodiford v GMRI, Red Lobster
  Case No: 2:07-CV-01895-WBS-DAD                            Case No: HG 08407051
  Plaintiff - Westrup Klick                                 Plaintiff – Westrup Klick, LLP
  Phillip R. Poliner                                        Phillip Poliner, Esq
  Defense     - Paul, Hastings, Janofsky & Walker LLP       Defense – Paul, Hastings, Janofsky &
  Jan E. Eakins                                             Walker LLP
                                                            Jan E. Eakins, Esq
  Alvarez v Malibu Restaurant
  Case No: BC 376311                                        Booker v Tanintco
  Plaintiff – Hamner Law Offices PC                         Case No:BC 349267
  Christopher J. Hamner                                     Plaintiff – Law Offices of Jared E. Peterson
  Defense – Landegger Baron Lavenant                        Jared E. Peterson, Esq.
  Brian E. Ewing                                            Aiman-Smith & Marcy
                                                            Reed W.L. Marcy, Esq.
  Anderson v DriveTime                                      Defense – Sedgwick, Detert, Moran & Arnold LLP
  Case No: BC398475                                         Leonora M. Schloss, Esq., Aaron N. Colby, Esq.
  Plaintiff – Initiative Legal Group
  Mark Yablonovich, Marc Primo                              Boyce v Michael Kors
  Defense – Paul Hastings Janofsky & Walker                 Case Number: 37-2008-00093848-CU-BT-CTL
  Elena Baca, Ryan Derry                                    Plaintiff - Fineman & Associates
                                                            Neil B. Fineman
  Arias v Praxair Distribution                              Defense - Proskauer Rose LLP
  Case No: CGC 08-474506                                    Lary Alan Rappaport
  Plaintiff – Keller Grover LLP
  Eric A. Grover, Esq., Jade Butman, Esq.                   Boydston v ExxonOil
  Defense – Littler Mendelson, P.C.                         Case Number: 1267419
  Marlene S. Muraco, Esq.                                   Planitiff - Gilbert & Sackman, A Law Corporation
                                                            Robert A. Cantore, Adrian Barnes
  Arnall v North American                                   Defense - Sheppard, Mullin, Richter & Hampton, LLP
  Merchandising Service, Inc.                               Jeffrey A. Dinkin, Aaron W. Heisler
  Case No: 06AS01439
  Plaintiff - Shimoda Law Corp.                             Brentwood Travel Services v DCT
  Galen T. Shimoda                                          Case No: 03CC-002857
  Defense - Jackson Lewis LLP                               Plaintiff – Korein Tillery LLC
  Dale R. Kuykendall, Nathan W. Austin                      Christopher A. Hoffman, Steven Katz, Douglas R. Sprong
  Dillingham & Murphy, LLP                                  Defense – not disclosed
  William Gaus
                                                            Brior v AE Retail West, LLC
  Balint v Chico’s Fas, Inc.                                Case No: CGC 06-455422
  Case No: BX369191                                         Plaintiff – Keller Grover, LLP
  Plaintiff - Jennifer Kramer Legal                         Eric Grover, Jade Butman
  Judith Wiederhorn, Jennifer Kramer                        Defense – Rutan & Tucker, LLP
  Defense - Jackson Lewis LLP                               Brian C. Sinclair
  David S. Bradshaw
                                                        1
  Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 9 of 27 Page ID
                                   #:14460
Broome v Google                           Castro v White Cap
Case No: 108CV112386                                   Case Number: CGC 05-446144
Plaintiff – Rukin, Hyland, Doria & Tindall LLP         PLAINTIFF - Vinick Law Firm
Peter Rukin                                            Sharon Vinick
Defense – Paul, Hastings, Janofsky & Walker LLP        Kletter & Peretz
Thomas E. Geidt                                        Yosef Peretz
                                                       Defense - Orrick, Herrington & Sutcliffe LLP
Butcher v Westport Insurance Corp.                     Joseph C Liburt, Amira Day
Case No: BC 335874
Plaintiff - Kroll Law Corporation                      Cavanaugh v SCPMG
Gerald Kroll                                           Case No: BC 354246
Defense - Harrington, Fox, Dubrow & Canter             Plaintiff - Appleton, Blady & Magnanimo, LLP
Mark Flory, James Lo                                   I. Benjamin Blady
                                                       Defense - Seyfarth Shaw
Cabrera v HVACExchange                                 Thomas R. Kaufman
Case No: 37-2008-00084851-CU-OE-CTL
PLAINTIFF - Cadena Churchill LLP                       Centurioni v City and County of San Francisco
Raul Cadena                                            Case No: C0701016JSW
DEFENSE - Law Offices of Roy R. Withers, Esq.          Plaintiff - Vinick Law Offices
Roy Withers                                            Sharon Vinick
                                                       Shea Law Offices
Camacho v Herbalife                                    Mary J. Shea
Case No: BC376236                                      Boxer & Gerson LLP
Plaintiff - Diversity Law Group, A.P.C.                Leslie F. Levy and Darci Burrell
Larry Lee                                              Defense – City Attorney’s Office
Defense - Sheppard Mullin Richter & Hampton, LLP       Dennis J. Herrera, Elizabeth Salveson, Jonathan Rolnick, Rose-
Richard J. Simmons, Jason W. Kearnaghan                Ellen H. Fairgrieve

Campos v HWBCarwash                                    Chandler v Mi Piace
Case No: BC378990                                      Case No: BC 337780
Plaintiff – Lavi & Ebrahimian, LLP                     Plaintiff - Hawkins & Sofonio
N. Nick Ebrahimian, Joseph Lavi, Jordan D. Bello       Greg Mauro
Defense - Jackson Lewis LLP                            Defense - Sheppard, Mullin, Richter & Hampton
Mia Farber, Chad Bernard                               Daniel J. McQueen

Caponera v Knox & Associates                           Chavez v CEC Entertainment, Inc
Case No: 06AS03693                                     Case Number: BEC380996
Plaintiff – Wynne Law Firm                             PLAINTIFF - Lavi & Ebrahimian
Edward J. Wynne                                        Joseph Lavi
Defense – Jackson Lewis LLP                            Defense -Bander Law Firm
Cary G. Palmer                                         Cathe Caraway-Howard

Casanova v Gregg Industries, Inc                       Chiaramonte v Pitney Bowes
Case No: BC 337037                                     Case No: 06CV1507RNL5
Plaintiff - Appleton, Blady & Magnanimo                Plaintiff - Cohelan & Khoury
Benjamin Blady                                         Michael Singer, Diana Khoury
Defense - Berry & Perkins                              Defense - Seyfarth Shaw
Kevin Lussier                                          Raymond Kepner, Tom Kaufman,
                                                       Ayesha Attoh
Cash v McCormick
Case No: BC 374352                                     Clark v Commerce West Insurance
Plaintiff – Kingsley & Kingsley                        Case No: RG06269869
George Kingsley, Eric Kingsley, Gregory Givens         Plaintiff – Duckworth Peters Lebowitz, LLP
Defense – Atkinson, Andelson, Loya, Ruud & Romo        Mark Peters
Ann K. Smith                                           Defense – Sheppard Mullin Richter & Hampton
                                                       Jennifer Redmond




                                                   2
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 10 of 27 Page ID
                                   #:14461
Clymer v Candle Acquisition               Dao v 3M Company
Case No: BC328765                                         Case No: CV-08-04554 VBF (AGRx)
Plaintiff – Initiative Legal Group, LLP                   PLAINTIFF - James Hawkins
Mark Yablonovich, Marc Primo, Payam Shahian               Gregory Mauro
Defense – Carter Carter Fries & Grunschlag                DEFENSE - Shea Stokes Roberts & Wagner
Dov M. Grunschlag                                         Maria Roberts

Colbert v American Home Craft Inc.                        Davenport v Union Bank of CA
Case No: 05AS05012                                        Case No:2:07-CV-00001 FMC
Plaintiff - Shimoda Law Group                             Plaintiff – Keller Grover
Galen T. Shimoda                                          Eric Grover
Defense - Johanson Berenson LLP                           Thierman Law Firm
Douglas Rubel                                             Mark R. Thierman
                                                          Defense – Morgan, Lewis, & Bockius
Cook v TwentyNinthStreetCafe                              Rebecca Eisen, John Battenfeld
Case Number: LASC BC384829
PLAINTIFF - The Law Offices of Stephen Glick              Davilla v Beckman Coulter
Stephen Glick; Anthony Jenkins                            Case Number: 07CC01347
Defense - Musick, Peeler & Garrett, LLP                   PLAINTIFF - James Hawkins
Elaine M. Vukadinovich                                    Greg Mauro
                                                          Defense -Sheppard Mullin
Corado v Goodyear                                         Greg Labate
Case No: RCV 095476
Plaintiff - Spiro Moss Barness, LLP                       Davis v Kohls Department Stores, Inc
Justian Jusuf, Dennis Moss                                Case No: BC327426/BC341954
Law Offices of Sahag Majarian II                          Plaintiff – Righetti Law Firm, PC
Sahag Majarian II                                         John Glugoski, Matt Righetti
Defense - Non-Disclosed                                   Scott Cole & Associates
                                                          Kevin R. Allen, Scott Edward Cole
Cota v Las Olas                                           Defense – Jackson Lewis, LLP
Case No: 37-2007-00055931-CU-OE-NC                         Scott Lacunza, Frank Liberatore
Plaintiff – Hamner Law Offices
Christopher Hamner, Kimberly Westmoreland                 Dibel v Jenny Craig
Defense – Seyfarth Shaw                                   Case No: 06cv2533
Kimberly M. Foster                                        Plaintiff - Class Action Litigation Group
                                                          Rene Barge, Katie Odenbreit
Crosby v Chevy’s, Inc.                                    Defense - Jackson DeMarco Tidus Petersen & Peckenpaugh
Case No: 06AS02420                                        Paul Van Hoomissen, Gregory G. Petersen, Joshua Rittenberg
Plaintiff - Law Offices of Michael Carver
Michael Carver                                            DLSE v CAM Commerce Solutions
Defense - Morgan, Lewis, Bockius                          Case No: N/A
Barbara Miller                                            PLAINTIFF - DLSE
                                                          David Gurley
Cuevas v Vasquez Company                                  DEFENSE - Proskauer Rose LLP
Case No: RIC 497307                                       Art Silbergeld
Plaintiff – Gould & Associates
Michael A. Gould                                          DLSE v SierraCascade
Defense – Hodel, Briggs, Winter LLP                       Case No: 35-65292/225
Glenn L. Briggs                                           PLAINTIFF - DLSE
                                                          Deborah Graves
D’Asero v Home Loan Center                                DEFENSE - DLA Piper US LLP
Case No: SACV 08-0384 RSWL (JWJx)                         Amy Beckstead
Plaintiff – Mower, Carreon, & Desai, LLP
Jon R. Mower, James A. Burton
Defense – Sheppard, Mullin, Richter, & Hampton, LLP
Greg S. Labate, Matthew M. Sonne




                                                      3
  Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 11 of 27 Page ID
                                    #:14462
Ellerd v County Of LA                      Frost v Freeway Insurance
Case No: CV 05-122/cv 05-4200                                  Case No: GIC874251
Plaintiff – Megan Richmond                                     Plaintiff – Cohelan & Khoury
Defense – Sheppard, Mullin, Richter, & Hampton, LLP            Isam C. Khoury, Michael D. Singer, Diana M. Khoury, Alexan-
Geoffrey D. Deboskey                                           der I. Dychter
                                                               Defense – Michelman & Robinson, LLP
Eng v PQBeverlyHills                                           Sanford L. Michelman, Mona Z. Hanna, Todd H. Stitt
Case No: BC391451
PLAINTIFF - Nunes Law Group                                    Fuller v Kelly Services
Glenn Nunes                                                    Case No: BC296800
                                                               Plaintiff – Gould & Associates
Hamner Law Offices
Chris Hamner, Kimberly Westmoreland, Marie Bolanos             Aarin Zeif, Michael L. Gould
DEFENSE - Snell & Wilmer
                                                               Law Offices of Daniel G. Emilio
                                                               Daniel G. Emilio
Christy Joseph, Tiffanny Brosnan
                                                               Defense – Sheppard, Mullin, Richter & Hampton
                                                               Geoff D. DeBoskey
Faris v Bal Seal
Case Number: 30-2008-00180022
PLAINTIFF - Spiro, Moss, Barness, LLP
                                                               Galicia v Pfinish Koncepts, Inc
                                                               Case Number: BC375293
Dennis Moss
                                                               PLAINTIFF - Kesluk & Silverstein
The Law Office of Justian Jusuf
                                                               Douglas N Silverstein
Justian Jusuf
                                                               Defense - Carlton DiSante & Freudenberger
Defense -Tredway, Lumsdaine & Doyle
                                                               Leigh A White & Dorothy A Black
Shannon Marie Jenkins

Farrell v Hamlet Group, Inc.                                   Galtie v ARSNationalServices
                                                               Case No: 37-2007-00056871 CU OE NC
Case No: BC 378411
                                                               PLAINTIFF - Initiative Legal Group
Plaintiff - Hamner Law Offices, LLC
                                                               Linh Hua, Scott Leviant, Payam Shanian, Marc Primo
Christopher J. Hamner
                                                               DEFENSE - Luce Forward Hamilton & Scripps
Defense - Garrett & Tully, LLP
                                                               Kathryn A. Bernert
Efren Compean

Flores v CVS                                                   Garcia v Kao
                                                               Case No: 05CC05679
Case No: 2:07-cv-05326-FMC-Ex
                                                               Plaintiff - Gibson Dunn & Crutcher
Plaintiff – Initiative Legal Group, LLP
                                                               Nicola Hanna, Kevin Roosevelt, Kelly Leggio, Lise Johnson
Monica Balderrama, Marc Primo, Linh Hua, Shawn Westrick,
                                                               Public Law Center
Mark Yablanovich
                                                               Kenneth Babcock, Gary McGaha
Defense – Sheppard, Mullin, Richter & Hampton, LLP
                                                               Defense - Law Offices of David S. W. Fang
Jennifer Zargarof & Douglas R Hart
                                                               David S. W. Fang
                                                               Law Offices of David Alan Cooper
Franco v Ecology Autoparts, Inc
                                                               David Alan Cooper
Case No: GIC840600
                                                               Law Offices of Stanley Friedman
Plaintiff - Law Offices of Paul D. Jackson
                                                               Stanley Friedman
Paul D. Jackson
                                                               Howrey LLP
Cadena Churchill, LLP
                                                               Russell B. Hill, Jesse D. Mulholland
Raul Cadena
                                                               Pasternak, Pasternak & Patton
Defense - Lewis Brisbois Bisgaard & Smith LLP
                                                               David J. Pasternak
Paul F. Sorrentino
                                                               Theodora Oringher Miller & Richman
                                                               James Godes, Joseph Preis
Frank v eCost
Case No: BC374820
Plaintiff – Westrup Klick, LLP
                                                               Geerhart v California Insurance Guarantee
Philip Poliner
                                                               Association
                                                               Case No: 357078BC
Defense – Jones Day
                                                               Plaintiff - The Law Offices of Timothy B McCaffrey
Steven M. Zadravez
                                                               Timothy McCaffrey Jr.
                                                               Defense – Locke, Lord, Bissell & Liddell LLP
                                                               Nina Huerta, Eduardo Martorell, Guerry Collins




                                                           4
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 12 of 27 Page ID
                                   #:14463
Ginsberg v Pinecrest Schools              Hanzy v Mac Mall
Case No: BC 316722                                                 Case No: BC373935
Plaintiff - Daniels, Fine, Israel, Schonbuch & Lebovits            Plaintiff – Westrup Klick, LLP
Scott Brooks, Paul Fine                                            Phillip R. Poliner, Esq.
Law Offices of Stephen Glick                                       Defense – Jones Day
Stephen Glick                                                      Steven M. Zadravecz, Esq.
Defense - Christensen, Glaser, Fink, Jacobs, Weil & Shapiro,
LLP                                                                Hashimoto v Abercrombie & Fitch Co.
Mark Lynch                                                         Case No: BC 354479
                                                                   Plaintiff - Khorrami, Pollard & Abir LLP
Gonzalez v Home Loan Center                                        Robert (Bob) Drexler Jr
Case No: CV06-5007 RSWL (JWJx)                                     The Quinsberry Law Firm
Plaintiff – Initiative Legal Group, LLP                            John N. Quisenberry
Marc Primo, Joseph Cho, Shawn Westrick                             Defense - Vorys, Sater, Seymore and Pease, LLP
Defense – Sheppard Mullin Richter & Hampton LLP                    Mark Knueve
Greg S. Labate, Matthew M. Sonne
                                                                   Harris v Kiddie Kandids
Granados v Dow Key
                                                                   Case Number: C08-00852 MEJ
Case No: 56-2007-00304253-CU-OE-VTA
                                                                   Plaintiff - Law Office of Randall Crane
Plaintiff – Gulledge Law Group
Linda J. Gulledge, Kelly Woody Gulledge                            Randall Crane
Defense – Nordman, Cormany, Hair & Compton LLP                     Defense - Desouza Law Offices
Karen L. Gabler                                                    Jacqueline Desouza

Guerra v L’Occitane                                                Haywood v Tyler Restaurants, Inc.
Case No: BC373587                                                  Case No: 06CC00085
Plaintiff – Initiative Legal                                       Plaintiff - Gerald MacRae
Mark Yablonovich, Marc Primo, Matthew Theriault, Dina Livits       Defense - Stradling, Yocca, Carlson & Rauth
Defense - Jackson Lewis LLP                                        John Cannon, Amy Williams
David Bradshaw
                                                                   Hernandez v Angeles ARC
Guerrero v Beacon Bay                                              Case No: BC347952
Case No: 06CC00111                                                 Plaintiff - Law Offices of Ellyn Moscowitz
Plaintiff – Law Offices of Jerry D. Underwood                      Ellyn Moscowitz, Sharon Seidenstein
Jerry D. Underwood Esq                                             Defense - Law Offices of Steven Kramer
Diefer Law Group, P.C.                                             Steven Kramar
Marcelo A. Dieguez, Esq
Defense – Carlton DiSante & Freudenberger LLP                      Hernandez v Brink’s, Inc.
Timothy M. Fruedenberger LLP                                       Case No: BC360488
                                                                   Plaintiff – The Cooper Law Firm P.C.
Hall v Best Buy                                                    Scott Cooper
Case No: 265-2005-02271                                            The Carter Law Firm
Plaintiff - EEOC                                                   Roger L. Carter
Defense - Robins Kaplan Miller & Ciresi LLP                        Jose Garay A.P.C
Janet C. Evans, Kelly K. Pierce                                    Jose R. Garay
                                                                   Defense – Crowell & Morning LLP
Halawanji v Advantage Guard                                        Jeff Pagano, Ira Saxe, Stafford Woodley, Marc Romero, Stephan
Case No: 06CC00158                                                 P. Rice
Plaintiff - Gould & Associates
Michael Gould, Aarin Zeif                                          Herron v Cool Cuts 4 Kids
Defense - Atkinson, Andelson, Loya, Ruud & Romo, APC               Case No: BC384527
Susan Steward                                                      Plaintiff – Gould & Associates
                                                                   Michael A. Gould
Hansen v CeliteCorp                                                Aarin A. Zeif
Case Number: 1250371                                               Defense – Littler Mendelson
Plaintiff - Gilbert & Sackman, A Law Corporation                   Diane L. Kimberlin
Robert A. Cantore, Adrian Barnes
Defense - Sheppard, Mullin, Richter & Hampton, LLP
Jeffrey A. Dinkin, Aaron W. Heisler

                                                               5
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 13 of 27 Page ID
                                   #:14464
Hill v SullivanAG                         Keplinger v California Pizza LLC
Case No: BC378222                                            Case No: 07CEGC01534
PLAINTIFF - Initiative Legal                                 Plaintiff – Law Office of Michael Carver
Linh Hua, Scott Leviant                                      Michael Carver
DEFENSE - Chavos and Rao                                     Defense – Fisher & Phillips, LLP
Laurie Rao                                                   John Lattin

Hyatt v California Sullivan                                  Kinz v SpencerGifts
Case No: INC 068594                                          Case Number: 07AS03539
Plaintiff – James H. Cordes, Attorney at Law                 PLAINTIFF - Law Offices of Michael Carver
James H. Cordes                                              Michael Carver, Michelle Lunde
Defense – Carlton DiSante & Freudenberger, LLP               Defense - Orrick, Herrington & Sutcliffe LLP
Leigh Ann White & Timothy Freudenberger                      Allison Pitigoi, Julie Totten

Ingraham v Orchard Supply Hardware                           Klostermann v OCE Business Services
Case No: 457004                                              Case No: BC311001
Plaintiff – Scott Cole & Associates APC                      Plaintiff – Graves & Associates
Scott Edward Cole, Matthew Bainer & Clyde H. Charlton        Allen Graves
Defense – Littler Mendelson PC                               Defense – Jackson Lewis, LLP
Dennis M. Brown, Michelle B. Heverly & Erica H. Kelley       Mia Farber, Dean Rocco

Janicki v Lane Bryant                                        Koehler/Aho v BankoftheWest
Case No: BC 374877                                           Case Number: CGC-060 458611
Plaintiff - Connor & Sargent PLLC                            Plaintiff - Initiative Legal Group, LLP
Stephen P. Connor                                            Gregory Yu
Anne-Marie E. Sargent                                        Defense -Orrick, Herrington & Sutcliffe, LLP
Defense - Morgan Lewis & Bockius                             Andrew Livingston
John S. Battenfeld, Donna Mo, Albert Huang
                                                             Koehler v Honeywell
Jones v Right Away Redy Mix                                  Case No: RG 05213466
Case No:RG 07331067                                          Plaintiff - McCurdy & Ku
Plaintiff – Law Offices of Sohnen & Kelly                    Gregg L. McCurdy, Gaetano M. Fong
Harvey Sohnen, Esq., Patricia Kelly, Esq.                    Defense - Paul Hastings, Janofsky & Walker
Defense – Wiley, Price, & Radulovich, LLP                    M. Kirby C. Wilcox, Saidah M. Grayson
Joseph E. Wiley, Esq., Ian O. Fellerman, Esq.
                                                             Krzesniak v Budget Rent A Car
Kaplan v Siemens Maintenance Services                        Case No: C 05-5156 MEJ
Case No: BC 328900                                           Plaintiff – Rukin Hyland Doria & Tindall LLP
Plaintiff - Initiative Legal Group, LLP                      Steven M. Tindall, Peter Rukin
Joseph Cho, Greg Yu                                          Defense – Littler Mendelson
Defense - Morrison & Foerster                                Jody A. Landry
Samantha Goodman                                             Arena Hoffman LLP
                                                             Michael Hoffman
Keo v North Coast Couriers
Case No: RG XX-XXXXXXX                                       Kunz v Sunset Cresent
Plaintiff - Hinton, Alfert, and Sumner                       Case No: BC382004
Aaron Kaufman                                                Plaintiff - Jennifer Kramer Legal
Cohelan & Khoury                                             Jennifer Kramer
Christopher Olsen, Michael D. Singer                         Defense - Proskauer Rose LLP
Liberation Law Group                                         Robert H. Horn, Anthony J. Oncidi
Arlo G. Uriarte
Law Offices of Ricardo J. De Rosa                            Lakso v UHS of Delaware, Inc.
Ricardo J. De Rosa                                           Case No: BC 342312
Defense - Law Office of Nina Yablok                          Plaintiff - Law Office of Joseph Antonelli
Nina Yablok                                                  Joseph Antonelli, Janelle Carney
Littler Mendelson                                            Defense - Cotkin, Collins & Ginsburg
Theodora Lee                                                 William Naeve, Ellen Tipping, Robert Wilson




                                                         6
  Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 14 of 27 Page ID
                                    #:14465
Lanzarone v WSA Security, Inc.             Mares v BFS
Case No: BC345891                                              Case No: BC375967
Plaintiff - Law Offices of Herbert Hafif                       PLAINTIFF - Initiative Legal Group, LLP
Gregg Hafif, Miguel Caballero, Farris Ain                      Marc Primo, Matthew Theriault, Orlando Arellano
Defense - Loeb & Loeb                                          DEFENSE - Rutan & Tucker, LLP
Mark Campbell, Allan Edmiston, Erin Smith                      Ernest W Klatte, III, Summer Young-Agriesti

LaPlante v Pomeroy Investments                                 Marino v PinkTaco
Case Number: BC 379692                                         Case Number: BC384498
PLAINTIFF - Hamner Law Offices                                 Plaintiff - Hamner Law Offices, APC
Christopher Hamner                                             Christopher J Hamner
Defense - Levinson Arshonsky & Kurtz                           Defense - Proskauer Rose LLP
James Cooper                                                   Robert H Horn

Lauzon v Club Monaco                                           Martin v Home Savings Termite Control
Case No: CGC-06-449963                                         Case No: BC372068
Plaintiff – Keller Grover, LLP                                 Plaintiff – Jennifer Kramer Legal
Eric A. Grover Esq., Jade Butman Esq.                          Jennifer Kramer
Defense – Littler Mendelson                                    Defense – Freedman & Taitelman
Margaret Hart Edwards, Phillip L. Ross                         David Marmorstein

Little v Brinker                                               Martinez v Bank of the West
Case No: 02 CC-003965                                          Case No: CGC-06-454959
Plaintiff – Korien Tillery, LLC                                Plaintiff – Rukin Hyland Doria & Tindall, LLP
Steven Katz, Christopher A. Hoffman                            Peter Rukin & John F. Hyland
Defense – McMahon Berger, PC                                   Law Offices of Greg Mayeda
Robert Younger, McMahon Berger                                 Greg Mayeda
                                                               Defense – Orrick Herrington & Sutcliffe, LLP
Lopez v Little Caesars                                         Andrew Livingston, Kristen M. Jacoby & Patricia Gillette
Case Number: BC383640
Plaintiff - Law Offices of Stephen Glick
                                                               Massie v Wild Oats
                                                               Case No:BC369633
Stephen Glick; Anthony Jenkins
                                                               Plaintiff – Law Offices of Stephen Glick
Defense - Winston & Straw LLP
Benjamin M. Gipson/Maria Rodriguez                             Stephen Glick, Esq.
                                                               Daniels, Fine, Israel, Shonbuch & Lebovits LLP
Lopez v Louis Vuitton                                          Paul Fine, Scott Brooks, Craig Momita
Case No: BC361116
                                                               Law Offices of Ian Herzog
Plaintiff - Gould & Associates
                                                               Ian Herzog
                                                               Defense – Jackson Lewis LLP
Michael Gould, Aarin Zeif
Defense - Winston & Strawn LLP
                                                               Frank M. Liberatore, Esq. Debbie Ibrahim, Esq. & Aryn J. Sobo,
Lee Paterson, Jessie Kohler, Emilie Woodhead                   Esq.

Mabry v Pete’s Connection                                      Mathistad v Einstein Noah Restaurant
                                                               Case No: 37-2007-74998-CU-IE-CTL
Case No: 04CC00509
                                                               Plaintiff – Righetti Law Firm, P.C.
Plaintiff - Cohelan & Khoury
Tim Cohelan, Michael Singer, Sam Khoury, Diana Khoury          Matthew Righetti, Esq, John Glugoski, Esq
Nicole Durant, Esq Attorney at Law                             Lorens & Associates, APLC
Defense - Phillip Silverman, Esq. Attorney at Law
                                                               Tracee Lorens
                                                               Cadena Churchill, LLP
Mahoney v AT&T                                                 Raul Cadena
                                                               Defense – Holme Roberts & Owens, LLP
Case No: BC385361
Plaintiff – Goldstien Demchack Baller Borgen & Dardarian
                                                               Donald L. Samuels, Elizabeth H. Murphy, David Ball
Morris J. Baller, Joseph E. Jaramillo
Defense - Pillsbury, Winthrop, Shaw, Pittman LLP
Paula M. Weber, Lara-Beye Molina




                                                           7
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 15 of 27 Page ID
                                   #:14466
McCall Selbst v Labor Ready               Moore v Genesco
Case No: BC289925                                      Case No: RG06270570
Plaintiff – The Quisenberry Law Firm                   Plaintiff – Keller Grover, LLP
John Quisenberry, Robert J. Drexler                    Eric Grover, Jade Butman
Defense – Perkins Coie, LLP                            Thierman Law Firm
David Ongaro                                           Mark Thierman
                                                       Law Office of Steven L. Miller
McCarty v CJK Associates                               Scott A. Miller, Steven L. Miller
Case No: FCS028379                                     Defense - Morgan Lewis & Bockius, LLP
Plaintiff – Law Offices of Michael L. Carver           Eric Meckley
Michael Carver
Defense – Jackson Lewis                                Mondragon v BTR, Inc
David S. Bradshaw, Cary Palmer                         Case No: BC 379380
                                                       Plaintiff – Hamner Law Offices, LLC
McLaughlin v Waste Management                          Christopher J. Hamner
Case No: 06C 0100                                      Kimberly Westmoreland
Plaintiff - Appleton, Blady & Magnanimo                Defense – Van Vleck Turner & Zaller, LLP
Benjamin Blady                                         Brian Van Vleck
Defense - McNamara, Spira & Smith                      Anthony Zaller
Kirsten Hicks Spira
                                                       Morgan v The Avenue
Merino v Nations Pizza Products                        Case No: BC362191
Case No: 1:07-CV-632                                   Plaintiff – Initiative Legal Group
Plaintiff - Werman Law Office, P.C.                    Mark Yablonovich, Marc Primo, Matthew T. Theriault, Lory N.
Douglas M. Werman                                      Ishii
Defense - Jones Day                                    Defense – Sheppard, Mullin, Richter & Hampton
Michael J. Gray, Michael S. Ferrell                    Charles F. Barker, Ross A. Boughton
Paul Hastings, Janofsky & Walker
Steven T. Catlett                                      Morris v Lebhar Friedman
Nation Pizza’s Counsel                                 Case No: 2:08-cv-07457-ODW-FMO
Earl Farkas                                            PLAINTIFF - Appleton, Magnanimo & Dean
                                                       Lauren Dean, Frank Magnanimo
Mickelson v LaBou(WOGT)                                DEFENSE - Paul, Hastings, Janofsky & Walker
Case Number: 07AS02431                                 Ryan Derry , Elena Baca
PLAINTIFF - Law Offices of Michael L. Carver
Michael L. Carver                                      Muniz v Pilot Travel Centers
Defense - Knox, Lemmon, Anapolsky & Schrimp, LLP       Case No: 07-CV-003250-FCD-EFB
Angela Schrimp de la Vergne                            Plaintiff – Law Offices of Michael Carver
                                                       Michael Carver
Mobley v Globeground North America, LLC                Defense – Littler Mendelson, PC
Case No: BC 356051                                     Jody Landry
Plaintiff – Initiative Legal Group
Matthew T. Theriault                                   Nelson v Pitney Bowes
Defense – Morgan, Lewis & Bockius LLP                  Case No: 06 05954 JSW
Jill Ann Porcaro                                       Plaintiff – Wynne Law Firm
                                                       Edward Wynne
Molinar v Golden West Restaurants, Inc                 Defense – Littler Mendelson, PC
Case No: BC350154                                      Annamary E. Gannon
Plaintiff - Law Offices of Michael Carver
Michael Carver                                         Nerland v Caribou Coffee
Defense - Sheppard, Mullin, Richter & Hampton          Case No: 05-1847 PJS/JJG
Charles Barker, Geoffrey Deboskey                      Plaintiff - Lockridge Grindal Nauen
                                                       Charles N. Nauen
Moore v Check Cashing Place                            Cuneo Gilbert & LaDuca
Case No: GIC 879665                                    Jon Tostrud
Plaintiff - Hiden Rott & Oertle, LLP                   Defense - Fredrickson & Byron
Michael Ian Rott, Eric M. Overholt                     Joseph M. Sokolowski
Defense - Littler Mendelson
Stacey E. James, Laura Strauss

                                                   8
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 16 of 27 Page ID
                                   #:14467
Nevins v UHS of Delaware, Inc.            Ortega v Leslie Farms
Case No: BC322077                                                Case No: GIN-031-417
Plaintiff - Initiative Legal Group, LLP                          Plaintiff – California Rural Legal Assistance Foundation
Marc Primo, Shawn Westrick, Robert Byrnes                        Dorothy A. Johnson
Defense - Cotkin, Collins & Ginsburg                             Defense – Testa & Associates, LLP
William Naeve, Ellen Tipping, Robert Wilson                      Gregory J. Testa, Esq

Nguyen v BDO                                                     Osorio v Land Forms Landscape
Case No: SACV07-1352 JVS MJGx                                    Case No: 07 CC 05683
Plaintiff – Kershaw, Cutter & Ratinoff, LLP                      Plaintiff – Martinez & Associates
Stuart Talley                                                    Jose Antonio Martinez
Defense – Morgan, Lewis & Bockius, LLP                           Defense – Crowell & Morning, LLP
Carrie Gonell                                                    Mark Romeo

Njoku v Ecko                                                     Padilla v Two Lips
Case No: CGC 07-469480                                           Case No: BC344476
Plaintiff – Keller Grover LLP                                    Plaintiff – Keller Grover, LLP
Eric A. Grover                                                   Jade Butman, Eric Grover
Defense – Proskauer Rose LLP                                     Defense – Anderson McPharlin & Conners, LLP
Enzo Der Boghossian, Harold M Brody                              Glen Mortens, Stephen Harris

Noble v Sony                                                     Palacio v International Extrusion
Case Number: BC372645                                            Case No: BC 376966
Plaintiff - Trush Law Office                                     Plaintiff – Myers & Siegel, PC
James M. Trush, Esq.                                             Michael Myers, Alan Sigel
Tharpe & Howell                                                  Law Office of Matthew Taylor
Robert M. Freedman, Esq., David S. Binder, Esq.                  Matthew Taylor
Defense - Mitchell Silberberg & Knupp LLP                        Defense – Littler Mendelson, PC
Jeffrey L. Richardson                                            Robert Blumberg

Novel v World Cafe Restaurant                                    Palmer v Kohls Corporation
Case Number: BC382068                                            Case No: 37-2007-00076060-CU-MC-CTL
Plaintiff - Hamner Law Offices, LLC                              Plaintiff – Bonnett, Fairbourn, Friedman & Balint, PC
Christopher J. Hamner                                            Todd D. Carpenter
Defense - Lewis Brisbois Bisgaard & Smith, LLP                   Defense – Call, Jensen & Ferrell
Steven G. Gatley,, Lisa A. Gregorius                             Matthew R. Orr

Omaley v IntelCorp                                               Palos v International Protection Service, Inc.
Case No: 108CV126813                                             Case No: BC323209
PLAINTIFF - Hinton, Alfert & Sumner                              Plaintiff - Initiative Legal Group, LLP
Aaron Kaufman                                                    Marc Primo, Greg Yu, Joseph Cho, Susan Cregg
Rudy, Exelrod, Zieff & Lowe                                      Defense - Sedgwick, Detert, Moran & Arnold LLP
Steve Zieff, Pat Goldman                                         David M. Humiston, Leonora M. Schloss, Alexander Gareeb,
Bruckner Burch                                                   Aaron Colby
Richard Burch
DEFENSE - Gilmore Diekmann Jr                                    Pang v PitneyBowes
Gilmore Diekmann                                                 Case No: 1:07-cv-08557-RJH
                                                                 PLAINTIFF - Lipman & Plesur LLP
Ordaz v Rose Hills Mortuary                                      Robert Lipman, David Robins
Case No: BC 386500                                               DEFENSE - Seyfarth Shaw LLP
Plaintiff – Initiative Legal Group                               Lorie Almon, Peter Walker, Chris Lowe
Marc Primo, Matthew Theriault, Dina Livhits
Defense – Gurnee and Daniels LLP
Stephen Gurnee, Nicholas Forestiere, David Daniels, John Mason




                                                             9
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 17 of 27 Page ID
                                   #:14468
Pelton v GTC                              Rava v Athletics Investment Group
Case No: GIC863070                                      Case Number: RG 06268693
Plaintiff - Frantz Law Group APLC                       Plaintiff - The Cartwright Law Group, APLC
James Frantz, Giles Townsend                            Gregory Cartwright
Keegan, Macaluso & Baker, LLP                           Defense - Jackson Lewis
Patrick Keegan, Brent Jex                               Cary Palmer
Law offices of Jodi Frantz                              Buchalter Nemer
Jodi Frantz                                             George J. Stephan
Defense - Drinker Biddle & Reath LLP
William Hanssen, Donald Beshada, Suzanne Stouder        Rava v Club Med Sales
                                                        Case No: 03CC09858
The People of California v Zuma                         Plaintiff - Fuller Jenkins
Case No: BC349390                                       Erik C. Jenkins
Plaintiff - L.A. City Attorney’s Office                 Flynn & Stillman
James Colbert, Steven Gold                              Philip Stillman
Defense - Hill, Farrer & Burrill LLP                    The Grant Law Firm
Scott Gilmore. Esq.                                     Joseph M. Grant
                                                        Defense - McKay, Graham & de Lorimier
Peralta v Olympic Garden                                Michael Acain
Case No: BC 358374
Plaintiff – Kesluk & Silverstein                        Razo v C&D Zodiac
Douglas Silverstein, Michael G. Jacob                   Case No: 07CC01373
Defense – Rees Law Firm                                 PLAINTIFF - Spiro Moss LLP
Robert Rees                                             Dennis Moss, Gregory Karasik
                                                        DEFENSE - Sheppard, Mullin, Richter & Hampton LLP
Perezchica v Eastco Int’l Corp.                         Greg Labate, Ruben Escalante
Case No: 07 CH 04726
Plaintiff - Werman Law Office, P.C.                     Recio v Labor Ready
Douglas M. Werman                                       Case No: BC289925
Defense – Burke & White                                 Plaintiff - The Cullen Law Firm, APC
Edmund Burke                                            Paul T. Cullen
                                                        Defense – Perkins Coie, LLP
Pietrzak v Joes Crab Shack                              David Ongaro
Case No: GIC 863846
Plaintiff - Cohelan & Khoury                            Renteria v Pacer Cartage, Inc.
Alex Dychter, Michael Singer                            Case No: BC 292970
Defense - Sheppard, Mullin, Richter & Hampton           Plaintiff - Daniels, Fine, Israel, Shonbuch & Lebovits
Heather Clark, Ryan McCortney                           Paul Fine, Scott Brooks
                                                        Law Offices of Stephen Glick
Radinski v Apex Digital                                 Stephen Glick
Case No: 07 C 0571                                      Defense - Morgan, Lewis & Bockius
Plaintiff – Penny, Nathan, Kahan & Associates           Larry Lawrence, Clifford Sethness
Ruth Irene Major
Defense – Littler Mendelson                             Ridley v Friar Tux
Lisa Schreter                                           Case No: BC368902
                                                        Plaintiff – Law Offices of John F. Stewart
Ramirez v eWork                                         John F. Stewart
Case No: 06-cv-00686-WDM-BNB                            Defense – Goldstein Law Firm
Plaintiff – Cafferty Faucher LLP                        Charles Goldstein
Anthony Fata                                            Seyfarth Shaw LLP
Defense – Jacobs Chase                                  Kenneth Sulzer
Ann Frick
                                                        Ronn v Well Point Anthem BlueCross
                                                        Case No: 56-2008-00328601-CU-OE-VTA
                                                        Plaintiff - Initiative Legal Group
                                                        Marc Primo
                                                        Defense - Seyfarth Shaw LLP
                                                        Eileen Zorc


                                                   10
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 18 of 27 Page ID
                                   #:14469
Rubio v New Century Mortgage              SLC v Pacific States Industries
Case No: SACV06-811CJC(AJWx)                                  Case No: 237576
Plaintiff – Trush Law Office                                  Plaintiff – Littler Mendelson
James M. Trush                                                Christopher Cobey
Defense – Sheppard Mullin Richter & Hampton, LLP              Defense – Pacific States Industries
Greg S. Labate                                                David Balter

Sahab v Posadas                                               Small v Brinderson
Case No: BC 324 331                                           Case No: 04CC00717
Plaintiff - The Pearl Law Firm                                Plaintiff - Law Offices of Ellyn Moscowitz
Steven G. Pearl                                               Ellyn Moscowitz
Law Office of Robert E. Racine                                Defense - Atkinson, Andelson, Loya, Ruud & Romo
Robert E. Racine                                              Christopher Andre
Defense - Law Offices of Stanley R. Raskin
Stanley R. Raskin                                             Smith v Claires Boutiques, Inc.
Barnes Crosby Fitzgerald & Zeman LLP                          Case No: BC378435
William M. Crosby                                             Plaintiff – Law Offices of Kenneth H. Yoon
                                                              Kenneth H. Yoon
Saidel v CBS Radio, Inc.                                      Defense – Morgan, Lewis & Bockius LLP
Case No: CV07-02948                                           John D. Hayashi
Plaintiff – Hinton, Alfert & Sumner
Aaron Kaufmann                                                Smith v GuardSystems
David P. Pogrel                                               Case No: BC384306
Defense – Morgan, Lewis & Bockius                             PLAINTIFF - Law Offices of Kevin T Barnes
Rebecca Eisen                                                 Joseph Antonelli, Janelle Carney, Kevin Barnes, Gregg Lander
Theresa Mak                                                   DEFENSE - Musick Peeler & Garrett
                                                              Elaine Vukadinovich
Salvador v PLS Checking
Case Number: CV 08-00882                                      Smith v ShieldSecurity
Plaintiff - Hamner Law Offices, APC                           Case No: BC385635
Christopher J Hamner                                          PLAINTIFF - Kokozian & Nourmand LLP
Defense - Proskauer Rose LLP                                  Michael Nourmand
Robert H Horn                                                 The Feldman Law Firm
                                                              Lee Feldman
Sanchez v Harry Singh & Sons Farming                          Class Action Litigation Group
Case No: GIC872854                                            Rene Barge & Katie Odenbriet
Plaintiff - Lorens & Associates, APLC                         DEFENSE - Bradley & Gmelich
Tracee Lorens                                                 Jaimee Wellerstein, Barry Bradley, Gary Bradley
Cadena Churchill LLP
Raul Cadena                                                   Smith v The Children’s Place
Defense - DLA Piper                                           Case No: BC328780
Rick Storms, Amy Beckstead                                    Plaintiff - Initiative Legal Group LLP
                                                              Marc Primo, Mark Yablonovich, Robert E. Byrnes
Sandford v Time Warner Cable                                  Defense - Sheppard Mullin Richter & Hampton
Case No: BC 356014                                            Richard Simmons, Derek Havel
Plaintiff – Kinglsey & Kingsley APC
Kevin M. Zietz                                                Solis v HiTech Collison
Defense – Morgan, Lewis & Bockius LLP                         Case No: BC336338
Carla J. Feldman, Jason S. Mills                              Plaintiff - Horton & Debolt
                                                              Laura Horton
Scott/Smith v BearCom                                         Kesluk & Silverstein
Case No: 37-2007-00068223-CU-OE-CTL                           Douglas Silverstein, Alexandra Steinberg
Plaintiff – Cohelan & Khoury                                  Defense - Fine, Boggs & Perkins
Timothy D. Cohelan, Isam C. Khoury, Michael D. Singer,        Cory King
Diana M. Khoury
Defense – DLA Piper LLP (US)
Merrill F. Storms, Jr., Tonya M. Cross



                                                         11
  Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 19 of 27 Page ID
                                            #:14470
Sprinklerfitters Local 669 v West Coast Fire       Tu v Rusco
Protection Services                                Case No: BC 367842
Case No: 06AS04594                                          Plaintiff – The Cullen Law Firm APC
Plaintiff - Law Offices of Ellyn Moscowitz                  Paul T. Cullen
Ellyn Moscowitz, Sharon Seidenstein                         The Ryan Law Firm PLC
Defense - Rediger, McHugh & Hubbert LLP                     Kelly F. Ryan
Robert Rediger                                              Defense – Best, Best & Krieger LLP
                                                            G. Ross Trindle
Stewart v Reebok
Case No: BC 317955                                          Ubalde v Prudential
Plaintiff – Westrup Klick, LLP                              Case No: BC245149
Phillip Poliner                                             Plaintiff – Spiro Moss Barness LLP
The Law Offices of Allan A. Sigel                           Ira Spiro, Justian Jusuf, Dennis Moss
Defense – Cathcart Collins, LLP                             Defense – Thelen Reid Brown Raysman & Steiner, LLP
Patrick Cathcart                                            Thomas Hill

Thompson v Culver Personnel                                 Valdivia v 3049 8th St
Case No: GIC 870940                                         Case No:BC 361404
Plaintiff – The Law Offices of Michael Carver               PLAINTIFF - Peter L. Weinberger and Associates, P.C.
Michael Carver                                              Peter Weinberger
Defense – Stradling Yocca Carlson & Rauth                   DEFENSE - Lewis Brisbois Bisgaard & Smith LLP
Bruce May                                                   Patrick Stark

Tapia v Mangen Group                                        Walker v Bankers Life
(BurgerKing)                                                Case No: 06-cv-06906
Case Number: BC377114                                       Plaintiff - The Quisenberry Law Firm
Plaintiff - Aidikoff, Uhl & Bakhtiari                       Robert Drexler
Philip Aidikoff, Robert Uhl, Ryan Bakhtiari                 Werman Law Office
Law Offices of David G. Spivak                              Douglas Werman
David Spivak                                                Defense - Littler Mendelson
Law Offices of David Harrison                               John A. Ybarra, Shanthi V. Gaur, Stephanie Seay Kelly, Tony R.
David Harrison                                              Skogen
Defense -Lewitt, Hackman, Shapiro, Marshall & Harlan
Sue Bendavid, Paul Bauducco                                 Weber v Einstein Noah Restaurant
                                                            Case No: 37-2008-00077680-CO-OE-CTL
Throne v Citicorp Investment Services                       Plaintiff – Lorens & Associates, APLC
Case No: CV 07-113-ABC(RZx)                                 L. Tracee Lorens
Plaintiff – Initiative Legal Group LLP                      Cadena Churchill, LLP
Mark Yablonovich, Marc Primo, Shawn Westrick                Raul Cadena
Defense – Gould & Associates                                Defense – Holme Roberts & Owens, LLP
Michael A. Gould, Aarin A. Zeif                             Donald L. Samuels, Elizabeth H. Murphy, David Ball

Tilden v Mastro’s Ocean Club                                Weizman v Principe
Case No: 06 CC 00135                                        Case No: BC 379691
Plaintiff - Gould & Associates                              Plaintiff – Hamner Law Offices
Michael Gould, Aarin Zeif                                   Christopher J. Hamner, Kimberly A. Westmoreland
Defense - Ogletree Deakins                                  Defense – Jones, Bell, Abbott, Fleming & Fitzgerald, LLP
Beth Gunn                                                   Kevin K. Fitzgerald

Tobin v The Rack, LLC                                       Wells v Kelly & Assoc., Inc.
Case No: BC 366512                                          Case No: GIC862431
Plaintiff – Law Offices of Peter M. Hart                    Plaintiff - Lorens & Associates APLC
Peter M. Hart                                               Tracee Lorens
Diversity Law Group                                         (continued from below left)
Larry W. Lee                                                Defense - Barker, Olmsted & Barnier
Defense - Knee Ross & Silverman                             Christopher Olmsted
Lora Silverman



                                                       12
 Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 20 of 27 Page ID
                                   #:14471
Whitaker v Cardinal Health
Case No: 37-2007-00078492-CU-OE-CTL
Plaintiff – Lorens & Associates, APLC
L. Tracee Lorens
Defense – Wilson Petty Kosmo &Turner, LLP
Robin A. Wofford, Lois Kosch

Whitmill v PC Mall
Case No: BC 373935
Plaintiff – Westrup Klick, LLP
Phillip R. Poliner, Esq.
Defense – Jones Day
Steven M. Zadravecz, Esq.

Wilfred v Lube Pit Stop
Case No: BC 377538
Plaintiff – Law Offices of Eli M. Kantor
Eli M. Kantor
Defense – Margolis & Tisman
Naki Irvin

Winzelberg v Liberty Mutual
Case No: CV 07-460
Plaintiff - Initiative Legal Group LLP
Monica Balderrama, Orlando Arellano
Defense - Sheppard, Mullin, Richter & Hampton LLP
Geoffrey DeBoskey

Williams v AVTA Busdrivers
Case No: CV 08-02582 GW (AVRx)
CV 08-4282 GW (AGRx)
Plaintiff - Initiative Legal Group LLP
Matthew T. Theriault, Dina Livhits
Defense – Gleason & Favrote, LLP
Paul M. Gleason, Torey J. Favarote

Williams v John Wheeler
Case No: 59035
Plaintiff – Law Offices of Michael Carver
Michael L. Carver
Defense – The Ison Law Group
Elizabeth Ison

Wise v Factors
Case No: BC373911
Plaintiff – Jennifer Kramer Legal, APC
Jennifer Kramer, Judith Wiederhorn
Defense – Silver & Freedman, APLC
Andrew Kaplan

Wu v SR Investment Group, Inc.
Case No: BC356245
Plaintiff - Bander Law Firm LLP
Joel R. Bander, Cathe L. Caraway-Howard
Defense - Fullbright & Jaworski LLP
Jay J. Lee,




                                                    13
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 21 of 27 Page ID
                                  #:14472




                               Exhibit 2
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 22 of 27 Page ID
                                  #:14473




                               Simpluris Security Summary – White Paper
       Simpluris is committed to the security and overall protection of not only our data and information but our client’s data
       and information, as well. As a demonstration of our commitment, we maintain SOC 2 Certification which requires strict
       adherence to policies and procedures surrounding information security, including processing and storage of
       confidential customer data. Simpluris supports a comprehensive, written Information Security Program that complies
       with all applicable laws and regulations (e.g. HIPAA, Gramm-Leach-Bliley Act, MA 201 CMR 17.00) and is designed to
       (a) ensure the security, privacy and confidentiality of Client and Class Member Information, (b) protect against any
       reasonably anticipated threats or hazards to the security or integrity of Client or Class Member Information, and (c)
       protect against unauthorized access to, use, deletion, or modification of Class Member Information. Simpluris has
       designated specific employees to be responsible for the administration of its Information Security Program. Also,
       Simpluris regularly and routinely monitors, tests, and updates our Information Security Program.

       Simpluris uses Client and Class Member Information only for the purposes for which its’ clients provide it, as described
       in any Agreements or Court Orders governing the provision of Simpluris’ services in any particular case. Simpluris
       maintains a process for identifying, assessing, and mitigating the risks to Class Member Information in each relevant
       area of Simpluris’ operations. At Simpluris, we continuously evaluate the effectiveness of the safeguards for controlling
       these risks to data and bank accounts. Simpluris restricts access to Class Member Information only to those
       employees, agents, or subcontractors who need to know the information to perform their jobs. Simpluris performs
       background checks of all its employees that will have access to Sensitive Personal Information, including a review of
       their references, employment eligibility, education, and criminal history to ensure they do not pose a risk to the security
       of Client or Class Member Information.

       Simpluris adheres to the following industry best practices to safeguard its systems which process, store or transmit
       Client and Class Member Information:
       • Identity and Access Management;
       • Complex passwords are routinely and regularly changed;
       • Role-based access control systems to limit individual employee access to network applications and systems
       based on their particular job role and function;
       • Data Loss Prevention and Intrusion Prevention System software at multiple layers to prevent from internal and
       external threats of data leaks, malicious activity, and policy violations
       • Encryption of Class Member Information if transmitted over public or wireless networks (e.g., via email, FTP, the
       Internet, etc.);
       • Implementation of a Secure File Transfer system (using SSL encryption) for transmitting documents back and forth
       to clients;
       • Encryption of servers, portable media, laptops, desktops, smartphones, mobile devices, and new technologies that
       store Class Member Information;
       • Complex password authentication for remote access to Company’s networks;
       • Upon hire and annually after that, training of all employees with access to Class Member Information, (including
       any agents, and subcontractors with access to Class Member Information) about their obligations to implement the
       Information Security Program;
       • Strict disciplinary measures for employees who violate the Information Security Program;
       • Preventing terminated employees from accessing Class Member Information;
       • Appropriately configured and updated firewall, antivirus, and spyware software;
       • Prompt application of vendor-recommended security patches and updates to systems and other applications to
       avoid any adverse impact on Class Member Information;
       • Separation of Duties;
       • Infrastructure and Physical Security;
       • Business Continuity Planning;
       • Disaster Recovery Planning
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 23 of 27 Page ID
                                  #:14474




                               Exhibit 3
          Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 24 of 27 Page ID
                                            #:14475
                                                                                                           3194-C Airport Loop Drive
                                                                                                              Costa Mesa, CA 92626
                                                                                                    800-779-2104 www.simpluris.com


Estimate #:                            14405V3              Prepared By:                                Michael Sutherland
Estimate Date:                         1/30/2022            Direct Dial #                               321.223.5067
                                                            Email:                                      msutherland@simpluris.com

                    Plaintiff Attorney                                                                  Defense Attorney
Attorney/Client:     Katherine J. Odenbreit                                          Attorney/Client:
Firm:                Mahoney Law                                                     Firm:            Mayer Brown
Email:               <kodenbreit@mahoney-law.net>                                    Email:

                       Case Name: Perez v. DirecTV: All In Settlement (Long Form Notice Option)

Anticipated Total Cost                                                                                                                     $73,423
Not to Exceed Cap:                                                                                                                         $75,000
 Terms:
 1) Capped Fees assume that Simpluris will receive data in a Single Excel file with no substantial change in class size or response rate
 2) Included is one year of Federal 1120 tax return to account for banking activity in this year.


Total Possible Class Size:                   16,619                                  Undeliverable Rate:                            10%
Opt Out/Objection Response Rate:              1%                                     Call Rate:                                      4%
Mailing Document Language:                 English + 4                               Redistribution:                              Yes - One
Estimated Length of Case:                      12                                    State(s):                                       CA
Unclaimed Funds:                              TBD                                    Tax Reporting Year                           One - 2022


                                                                Case Setup
                       Establish Project Plan - Data Compilation - Develop Case Specific Response Tracking
                      Category                              Unit Value                  # of Units                                   Total
Project Manager - Case Setup                                         $125.00                 7                                                $875.00
Translation-Spanish/Vietnamese/Korean/Mandarin                         $1.48              6,184                                             $9,152.32
Data Capture Website                                               $2,500.00                 1                                              $2,500.00
Interactive Website Monhtly Maintenance                              $150.00                12                                              $1,800.00
Database Manager - Initial Data Analysis                             $140.00                 8                                              $1,120.00
                                                                                              Total                                        $15,447.32


                                                                Notification
            Notice Packet: 1 pg Notice; Double Sided - English, (Spanish, Vietnamese, Korean, Mandarin) - Posted online
                      Category                              Unit Value                 # of Units                     Total
CAFA Notice                                                       $2,500.00                 1                            $2,500.00
E-Mail Campaign Set Up                                              $500.00                 1                               $500.00
E-Mail Notice (20% of Class)                                          $0.12               3,324                             $398.86
E-Mail Undeliverable Processing & Skip Trace                          $0.75                665                              $498.57
Re E-Mail Notice                                                      $0.16                532                               $85.09
Mail Long Form Notice (80% of Class)                                  $0.24              13,428                          $3,222.76
Notice Postcard Postage                                               $0.50              13,428                          $6,714.08
NCOA/CASS/LACS                                                        $0.05              13,428                             $671.41
Undeliverable Processing                                              $0.25               1,343                             $335.70
Skip Trace RUM                                                        $0.50               1,343                             $671.41
Remail Notice                                                         $0.30               1,141                             $342.42
Remail Postage                                                        $0.53               1,141                             $604.94
Mail House Supervisor                                                $50.00                 6                               $300.00
                                                                                             Total                      $16,545.22


                                                                Call Center
                                                  Establish Case Specific Toll Free Number
                    Category                                    Unit Value                 # of Units                                Total
Customer Service Reps/Call Center Support                                $55.00                44                                       $2,437.45


                                                                               1                                                  Confidential and Proprietary
          Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 25 of 27 Page ID
                                            #:14476
                                                                                               3194-C Airport Loop Drive
                                                                                                  Costa Mesa, CA 92626
                                                                                        800-779-2104 www.simpluris.com

                                                        Administration
                                                Process Mail, Opt-Outs or Objections
                     Category                               Unit Value                 # of Units                     Total
Database Manager                                                    $140.00                 4                                  $560.00
Opt Out/Objection Processing                                          $3.50               166                                  $581.67
Data Entry                                                           $50.00                 8                                  $400.00
Project Manager                                                     $125.00                 6                                  $750.00
Weekly Reporting to Counsel                                        WAIVED          12 Wks of Reporting                           $0.00
                                                                                            Total                           $2,291.67


                                                          Distribution
                                                Setup a Disbursement Account
       Print & Mail Checks to Class Members: W2's / 1099's - File Reports with Appropriate Federal & State Taxing Authorities
                                             Account Management & Reconciliation
                       Category                           Unit Value                    # of Units                    Total
Disbursement Data Preparation                                      $140.00                   6                              $840.00
Disbursement Manager - Data Validation                              $75.00                   3                              $225.00
Setup Banking Account/QSF                                          $300.00                   1                              $300.00
Print & Mail Check                                                   $0.52               16,453                           $8,555.46
Postage                                                              $0.50               16,453                           $8,226.41
Process Undeliverable Checks & Skip Trace                            $0.55                1,645                             $904.90
Remail Checks                                                        $0.75                1,316                             $987.17
QSF Account Reconciliation                                         $250.00                   1                              $250.00
Individual Federal/State Tax Reporting                             $750.00                   1                              $750.00

Print & Mail Check #2 (75% of original class receives
second check                                                         $0.52              12,340                              $6,416.60
Postage                                                              $0.50              12,340                              $6,169.80
Process Undeliverable Checks & Skip Trace                            $0.55               123                                   $67.87
Remail Checks                                                        $0.75               123                                   $92.55
Reissuing Checks/Mailing                                             $3.00               165                                  $493.58
Postage                                                              $0.53               165                                   $87.20
Disbursement Manager                                               $125.00                6                                   $750.00
                                                                                            Total                         $35,116.54


                                                                                               3194-C Airport Loop Drive
                                                                                                  Costa Mesa, CA 92626
                                                                                        800-779-2104 www.simpluris.com

                                                        Case Wrap Up
                                                   Send Final Reports to Counsel
                      Category                             Unit Value                  # of Units                     Total
Data Manager-Final Reporting                                       $140.00                  4                                  $560.00
Clerical-Clean Up Any Misc                                          $50.00                  8                                  $400.00
Project Manager-Wrap-up Final Issues                               $125.00                  5                                  $625.00
                                                                                            Total                           $1,585.00
    Postage          $21,802.42
                                                        Total Case Costs                                              $73,423.20




                                                                      2                                            Confidential and Proprietary
             Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 26 of 27 Page ID
                                               #:14477
                                                                                                                               3194-C Airport Loop Drive
                                                                                                                                  Costa Mesa, CA 92626
                                                                                                                        800-779-2104 www.simpluris.com

All administration services to be provided by Simpluris to Client, are provided subject to the following terms and conditions:

1. Services. Simpluris agrees to provide Client those services set forth in the Bid (the “Services”) to which these terms and conditions are attached and which has been
provided to Client. As compensation for such Services, Client agrees to pay the fees for Services outlined in the Bid. However, Client such fees for Services are estimated
based on the requirements provided by Client and actual fees charged by Simpluris may be greater or less than such estimate and Client will be responsible for the
payment of all such fees.
2. Billing and Payment. Simpluris will invoice Client on a regular basis unless a specific timeframe is otherwise set forth in the Bid. Client shall pay all invoices within 30
days of receipt. Amounts unpaid after thirty (30) days are subject to a service charge at the rate of 1.5% per month or, if less, the highest rate permitted by law. Services
are not provided on a contingency basis and Client shall remain liable to Simpluris for all fees for the Services, regardless of any court decisions, and/or actions by the
parties, including disapproval or withdrawal of a settlement.
3. Retention of Documents. Unless directed otherwise in writing by the Client, Simpluris will destroy all undeliverable mail (except for undeliverable checks) on the
date that it is processed and retained in Simpluris’ system. Simpluris will maintain records to establish that the subject mail is undeliverable. Simpluris will retain
undeliverable checks until the Qualified Settlement Fund is closed. Simpluris will also retain all other class member and putative class member correspondence (including
without limitation, claims forms and opt out forms) for one year after final distribution of funds or benefits, or until the date that the disposition of the case is no longer
subject to appeal or review, whichever is later. Lastly, Simpluris will retain bank & tax documents for such period of time as it determines is required to maintain
compliance with various federal and state requirements.
4. Limitation of Liability; Disclaimer of Warranties. Simpluris warrants that it will perform the Services diligently, with competence and reasonable care. Simpluris’
only obligation will be to correct any non‐conformance with the foregoing warranty. In no event will Simpluris be liable for any lost profits/opportunities, business
interruption or delay or, special, consequential , or incidental damages incurred by Client relating to the performance of the Services, regardless of whether Client’s claim
is for breach of contract, tort (including negligence and strict liability) or otherwise. Under no circumstances will Simpluris be liable to Client for any claims, losses, costs,
penalties, fines, judgment or damages, including court costs and reasonable attorney’s fees (collectively, “Losses”), whether direct or indirect, arising out of, related to, or
in connection with Services in an amount in excess of the total fees charged or chargeable to Client for the particular portion of the Services affected by Simpluris’
omission or error.       THE WARRANTIES SET FORTH IN THIS SECTION ARE EXCLUSIVE AND IN LIEU OF ALL OTHER WARRANTIES, EXPRESS, IMPLIED OR STATUTORY,
INCLUDING WITHOUT LIMITATION ANY IMPLIED WARRANTY OF MERCHANTABILITY OR OF FITNESS FOR A PARTICULAR PURPOSE.
5. Force Majeure. To the extent performance by Simpluris of any of its obligations hereunder is substantially prevented by reason of any act of God or because of any
other matter beyond Simpluris’ reasonable control, then such performance shall be excused and this Agreement, at Simpluris’ option, be deemed suspended during the
continuation of such condition and for a reasonable time thereafter.
6. Rights in Data. Client agrees that it will not obtain, nor does Simpluris convey, any rights of ownership in the programs, system data, or materials provided or used
by Simpluris in the performance of the Services.
7. Electronic Communications. During the provision of the Services the parties may wish to communicate electronically with each other at a business e‐mail address.
However, the electronic transmission of information cannot be guaranteed to be secure or error free and such information could be intercepted, corrupted, lost,
destroyed, arrive late or incomplete or otherwise be adversely affected or unsafe to use. Accordingly, each party agrees to use commercially reasonable procedures to
check for the then most commonly known viruses and to check the integrity of data before sending information to the other electronically, but each party recognizes that
such procedures cannot be a guarantee that transmissions will be virus free. It remains the responsibility of the party receiving an electronic communication from the
other to carry out a virus check on any attachments before launching any documents whether received on disk or otherwise.
8. Notice. Any notice required or permitted hereunder shall be in writing and shall be delivered personally, by, or sent by registered mail, postage prepaid, or overnight
courier and shall be deemed given when so delivered personally, or, if mailed, five days after the date of deposit in United States mail, or, if sent by courier, one business
day after delivery to such courier service. Notice should be addressed to an officer or principal of Client and Simpluris, as the case may be.
9. Waiver. Failure or delay on the part of a party to exercise any right, power or privilege hereunder shall not operate as a waiver thereof or any of other subject,
right, power or privilege.
10. Termination. Client may terminate the Services at anytime upon 30 days prior written notice to Simpluris. Termination of Services shall in no event relieve Client of
its obligation make any payments due and payable to Simpluris in respect of Services rendered up to the effective date of Termination. Simpluris may terminate this
Agreement (i) for any reason upon no less than 90 days prior written notice to the Client; or (ii) upon 15 calendar days' prior written notice, if the Client is not current in
payment of fees.
11. Jurisdiction. The parties hereto irrevocably and unconditionally submit to the jurisdiction of the Court of the applicable case for purposes of any suit, action or
proceeding to enforce any provision of, or based on any right arising out of, this Agreement. The parties hereto hereby irrevocably and unconditionally waive any
objection to the laying of venue of any such suit, action or proceeding in such Court.
12. Survival. Any remedies for breach of this Agreement, this Section and the following Sections will survive any expiration or termination of this Agreement: Section 4 ‐
Limitation of Liability; Disclaimer of Warranties, Section 6 – Rights in Data, and Section 12‐ Jurisdiction, 14 ‐Confidentiality, and Section 15 – Indemnification.
13. Entire Agreement. These Terms and Conditions and the proposal embody the entire agreement between the parties with respect to the subject matter hereof, and
cancels and supersedes all prior negotiations, representations, and agreements related thereto, either written or oral, except to the extent they are expressly
incorporated herein. No changes in, additions to, or waivers of, the terms and conditions set forth herein will be binding upon any party, unless approved in writing by
such party's authorized representative.
14. Confidentiality. Simpluris maintains reasonable and appropriate safeguards to protect the confidentiality and security of data provided by Client to Simpluris in
connection with the Services. If, pursuant to a court order or other proceeding, a third party requests that Simpluris to disclose any confidential data provided by or for
Client, Simpluris will promptly notify the Client unless prohibited by applicable law. Client will then have the option to provide Simpluris with qualified legal
representation at Client’s expense to defend against such request. If, pursuant to a court order, Simpluris is required to disclose data, produce documents, or otherwise
act in contravention of the obligation to maintain confidentiality set forth in these terms and conditions, Simpluris will not be liable for breach of said obligation.
15. Indemnification. Client will indemnify and hold Simpluris (and the officers, employees, affiliates and agents harmless against any Losses incurred by Simpluris, arising
out of, in connection with , or related to (i) any breach of the terms by Client; (ii) the processing and handling of any payment by Simpluris in accordance with Client’s
instructions, including without limitation, the imposition of any stop payment or void payment on any check or the wrongful dishonor of a check by Simpluris pursuant to
Client’s instructions.
16. Severability. If any term or condition or provisions of this Agreement shall be held to be invalid, illegal, unenforceable or in conflict with the law of any jurisdiction,
the validity, legality and enforceability of the remaining provisions shall not in any way be affected or impaired thereby.
17. Database Administration. Simpluris’ database administration for Client assumes that Client will provide complete data that includes all information required to send
notifications and calculate and mail settlement payments. Data must be provided in a complete, consistent, standardized electronic format. Simpluris’ standardized
format is Microsoft Excel, however, Simpluris may accept other formats at its discretion. Further developments or enhancements to non‐standardized data will be billed
to Client by Simpluris on a time and materials basis according to Simpluris’ Standard Rates.
                                                                              Confidential and Proprietary
Case 8:16-cv-01440-JLS-DFM Document 619-4 Filed 03/22/22 Page 27 of 27 Page ID
                                  #:14478




                               Simpluris Security Summary – White Paper
       Simpluris is committed to the security and overall protection of not only our data and information but our client’s data
       and information, as well. As a demonstration of our commitment, we maintain SOC 2 Certification which requires strict
       adherence to policies and procedures surrounding information security, including processing and storage of
       confidential customer data. Simpluris supports a comprehensive, written Information Security Program that complies
       with all applicable laws and regulations (e.g. HIPAA, Gramm-Leach-Bliley Act, MA 201 CMR 17.00) and is designed to
       (a) ensure the security, privacy and confidentiality of Client and Class Member Information, (b) protect against any
       reasonably anticipated threats or hazards to the security or integrity of Client or Class Member Information, and (c)
       protect against unauthorized access to, use, deletion, or modification of Class Member Information. Simpluris has
       designated specific employees to be responsible for the administration of its Information Security Program. Also,
       Simpluris regularly and routinely monitors, tests, and updates our Information Security Program.

       Simpluris uses Client and Class Member Information only for the purposes for which its’ clients provide it, as described
       in any Agreements or Court Orders governing the provision of Simpluris’ services in any particular case. Simpluris
       maintains a process for identifying, assessing, and mitigating the risks to Class Member Information in each relevant
       area of Simpluris’ operations. At Simpluris, we continuously evaluate the effectiveness of the safeguards for controlling
       these risks to data and bank accounts. Simpluris restricts access to Class Member Information only to those
       employees, agents, or subcontractors who need to know the information to perform their jobs. Simpluris performs
       background checks of all its employees that will have access to Sensitive Personal Information, including a review of
       their references, employment eligibility, education, and criminal history to ensure they do not pose a risk to the security
       of Client or Class Member Information.

       Simpluris adheres to the following industry best practices to safeguard its systems which process, store or transmit
       Client and Class Member Information:
       • Identity and Access Management;
       • Complex passwords are routinely and regularly changed;
       • Role-based access control systems to limit individual employee access to network applications and systems
       based on their particular job role and function;
       • Data Loss Prevention and Intrusion Prevention System software at multiple layers to prevent from internal and
       external threats of data leaks, malicious activity, and policy violations
       • Encryption of Class Member Information if transmitted over public or wireless networks (e.g., via email, FTP, the
       Internet, etc.);
       • Implementation of a Secure File Transfer system (using SSL encryption) for transmitting documents back and forth
       to clients;
       • Encryption of servers, portable media, laptops, desktops, smartphones, mobile devices, and new technologies that
       store Class Member Information;
       • Complex password authentication for remote access to Company’s networks;
       • Upon hire and annually after that, training of all employees with access to Class Member Information, (including
       any agents, and subcontractors with access to Class Member Information) about their obligations to implement the
       Information Security Program;
       • Strict disciplinary measures for employees who violate the Information Security Program;
       • Preventing terminated employees from accessing Class Member Information;
       • Appropriately configured and updated firewall, antivirus, and spyware software;
       • Prompt application of vendor-recommended security patches and updates to systems and other applications to
       avoid any adverse impact on Class Member Information;
       • Separation of Duties;
       • Infrastructure and Physical Security;
       • Business Continuity Planning;
       • Disaster Recovery Planning
